







&nbsp;
NUMBER 13-00-330-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


__________________________________________________________________


LATASHIA BLAKE,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 36th District Court 


of San Patricio County, Texas.


___________________________________________________________________


O P I N I O N



Before Chief Justice Seerden and Justices Rodriguez and

Kennedy(1)

Opinion Per Curiam



	Appellant, LATASHIA BLAKE, perfected an appeal from a judgment
entered by the 36th District Court of San Patricio County, Texas,  in
cause number S-99-3200-1CR.  Appellant has filed a motion to dismiss
the appeal.  The motion complies with Tex. R. App. P. 42.2(a).

	The Court, having considered the documents on file and
appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's
motion to dismiss the appeal is granted, and the appeal is hereby
DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 29th day of June, 2000.


1. Retired Justice Noah Kennedy assigned to this Court by the Chief
Justice of the Supreme Court of Texas pursuant to Tex. Gov't Code Ann.
§74.003 (Vernon 1998).

